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end of the third quarter of 2002 “there were no published scientific studics to support
Neurontin’s use for’ any of these indications or in an increased dose.

97, Overall, “off-label” sales of Neurontin have steadily increased since 1998, andl
from 2000 to the present have consistently remained at 93% to 94% of all sales. Actual sales for
approved uses has declined. Given the absence of scientific support for such uses, the genesis
for those sales can only be past and continuing efforts by Defendants to promote “off-label” use.

98. These continuing “offtabel” promotional efforts are evidenced in part by a July 1,
2002 Ictter from Dr. Lisa Stockbridge of the Department of Health & Human Services (“HHS”)
to Pfizer, in which HHS notified Pfizer that certain of its marketing practices are “in violation of
the Federal Food, Drug and Cosmetic Act ... because it makes representations about Neurontin
which are false and misleading.” In particular, HHS had the following objections about Piizer’s

“off-label” promotional] activities:

The presentation on the modct of illustrations of cellular activity resulting from
the administration of Neurontin (“Mechanism of Action”), In conjunction with
the presentation of the human brain, and the prominent display of the name
Neurontin makes representations about how Neurontin acts in the human brain.
This presentation along with the depiction of the human brain and the
prominent display of the name “Neurontin” suggest that the mechanism of
action of Neurontin has been established m the human brain. This suggestion of
proof of the mechanism of action is false. Specifically, it is contrary to the
language in the approved product labeling that states that [t]he mechanism by
which gabapentin [Neurontin exerts tts anticonvulsant action is unknown.”

Furthermore, the full presentation of the aforementioned areas of the human
brain accompanied by purported “Mechanism of Action” and the prominent
display of the name “Neurontin” is mis/eacing because it suggests that
Neurontin is uscful for a broader range of CNS conditions than has been
demonstrated by substantial evidence (i.¢., it can be used for the treatment of
any specific or non-specific brain disorder through to involve the GABA-ergic
neurotransmitted system that can originate in these parts of the brain). Most
obviously, the solo and prominent mention of the name Neurontin suggests that
Neurontin can be used as monotherapy for various CNS disorders,
notwithstanding that with respect to brain disorders, Neurontin is only
indicated as “adjunctive therapy in the treatment of partial seizures with or
without secondary generalization in patients over 12 years of age with
epilepsy” and as “adjunctive therapy in the treatment of partial seizures in
pediatric patients age 3-12 years.”

To address these objections, DDMAC recommends that Pfizer do the
following:

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lL. Immediately discontinue the use of this model and any other _
promotional matenal with the same or similar issues. (Emphasis
added.)
99, On information and belief, the foregoing promotional materials were used by

Pfizer employees to promote “off-label” use of Neurontin,

100, These continuing efforts to illegally promote “off-label” use of Neurontin are also
evidenced in part by a letter from HHS dated June 6, 2001, in which HHS found Pfizer io have
again. violated applicable law. This letter was sent by HHS in response to Pfizer’s promotional
advertising sent to doctors in 2001 claiming that a study had indicated “Quality of Lite
Improvements” with use of Neurontin. HIS found this promotional maicrial to be misleading as

set forth in its letter io Pfizer:

Ms. Andrea Garrity

Director, Regulatory Affairs
Pfizer, Inc.

235 East 42nd Street

New York, New York 10017-5755

Re: NDA #s 20-235, 20-882
Neurontin (gabapentin)
MACMIS #410174

Dear Ms. Garrity:

Through routine monitoring and surveillance, the Division of Drug Marketing,
Advertising, and Communications 9TI) )MAC) has identified a slim jim GD
#N5J5095A1) for Neurontin thal 1s misleading and in violation of the Federal
Food, Drug, and Casmetic Act and applicable regulations,

Specifically, this slim jim mislcadingly claims improvements in quality of life
(QOL) parameters based on the Neurontin Evaluation of Outcomes in
Neurological Practice (NEON) study. Among other QOL parameters, the
misleading presentation includes improvement in social limitations, memory
difficultics, energy Icvel, and work limitations. The NEON study is not
considered to be substantial evidence for claims of QOL improvements because
it is not a conirolled study.

‘To address these objections, DDMAC recommends that Pfizer do the
following:

1. Immediately discontinue the use of this slim jim and any other
promotional material and practices with the same or similar messages.

2, Respond to this letter within ten days. Your response should include a
statement of your intent to comply with the above, a list of all

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promotional materials with the same or similar issues, and your methods
for discontinuing these promotional materials. (Emphasis added.)

101. Pfizer employees had been using the foregoing promotional matenals to promote
“off-label” use of Neurontin up until this letter of Tune 6, 2001.

102, Defendants have sent promotional material to physicians suggesting that
Neurontin was “well tolerated” with “proven efficacy” al doses “up to 2400 mg/day” and that
doses of 3600 mg/day were also “well tolerated.” As noted herein, there was no scientific
evidence that would have met with FDA criteria supporting a claim for dosages in excess of
1800 mg/day and these promotional efforts are illegal attempts to encourage “off-label” uses.

103. The promotional matenals referred to above, as well as other promotional
activitics cited hercin, were not submitted to the FDA for approval as required by FDAMA, 21
U.S.C. § 360aaa. Indeed, in the above-cited examples where HHS cited Pfizer for violating
federal law, the violations were discovered as a result of HHS’s “routine monitoring and
surveillance” activities and not because Pfizer had submitted the matenals as required by law.
E. “Off-Label” Promotion is egal

104. The “off-label” uses of Neurontin which are actively being promoted by
Defendants are uses which arc not recognized as medically accepted uses by the American
Hosmtal Formulary Service Drug Information, the United States Pharnmacopeia-Drug
Information, or the American Medical Association Drug Evaluations, or by any peer-reviewed
medical literature. Thus, these “off-label” uses are beyond the scope of uses designated by
federal law and regulation, in particular 42 U.S.C. § 1396r-8, as eligible coverage by the
Medicare and Medicaid programs.

105. The citations in Drugdex for Neurontin, as of August 1997, indicate that the
published scientific literature did not support the use of Neurontin for the following conditions:
alcohol detoxification/alcohol withdrawal syndrome, ALS, antidepressant-induced bruxism,
anxiety disorder, attention deficit disorder/aitention deficit and hyperactivity disorder, behavior

problems-dementia related, behavior dyscontrol, dipolar disorder, brachioradial pruritis, back

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pain, Charles Bonnet syndrome, ciguatera poisoning, cluster headache, cocame dependency,
diabetic peripheral ncuropathy, depression, dosages tn excess of 1800 mg per day, dystonia,
essential tremor, failed back surgery syndrome, headache (SUNCT), headache, hemifacial
spasm, hiccups, Lesch-Nyhan syndrome, mania, migraine prophylaxis, menopausal hot flashes,
mood stabilization, multiple sclerosis complications, nvyalgias taxanc induced neuropathic pain
syndromes, neuropathic cancer pain, HIV-related neuropathy, nicotine withdrawal, nystagmus,
obsessive-compulsive disorder, orthostatis tremor, pain-postpoliomyelitis pain, pain-RSD, pain
disorder, partial scizures-monotherapy, partial seizures-pediatnic, partial scizures-refractory,
phantom limb syndrome, postherpetic neuralgia, restless les syndrome, tngeminal ncuralgia,
seizures — acute intermittent prophyria, seizures — brain tumor-induced, seizures - clozapine-
induced, seizures — generalized, seizures - status cpilepticus, schizophrenia, social phobia,
spasticity, or any other indication other than seizures — adjunctive therapy.

106. As sct forth above, despite the lack of scientific suppori, Defendants engaged in
promotional activities for the purpose of having doctors use Neurontin to treat these diseases.

107. Further, any representations by any agent, employee, or person hired by Parke-
Davis that as of August 1997 there was scientific evidence supporting Neurontin’s use for:
alcohol detoxtfication/alcoho!l withdrawal syndrome, ALS, antidepressant-induced bruxism,
anxiety disorder, attention deficit disorder/atlention deficit and hyperactivity disorder, behavior
problems-dementia related, behavior dyscontrol, dipolar disorder, brachioradial pruritis, back
pain, Charles Bonnet syndrome, ciguatcra poisoning, cluster headache, cocaine dependency,
diabetic peripheral neuropathy, depression, dosages in excess of 1800 mg per day, dystonia,
essential tremor, failed back surgery syndrome, headache (SUNCT), headache, hemifacial
spasm, hiccups, Lesch-Nyhan syndrome, mania, migraine prophylaxis, menopausal hot flashes,
mood stabilization, multiple sclerosis complications, myalgias taxane induced neuropathic pain
syndromes, neuropathic cancer pain, HIV-related neuropathy, nicotine withdrawal, nystagmus,
obsessive-compulsive disorder, orthostatis tremor, pain-postpoliomyelitis pain, pam-RSD, pain

disorder, partial scizures-monotherapy, partial seizures-pediatric, partial seizures-refractory,

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phantom limb syndrome, postherpetic neuralgia, restless les syndrome, trigeminal neuralgia,
seizures - acute intermittent prophyria, seizures — brain tumor-induced, scizurcs — clozapine-
induced, seizures — generalized, scizures — status epilepticus, schizophrenia, social phobia,
spasticity, or any other indication other than the partial seizures-adjunctive therapy; would have
been misleading in that the published literature cited in Drugdex did not support these
indications at that time. On information and belief, representations were made by Defendants’
employees that Neurontin was appropnate for treatment of some of the foregoing diseases.

t08. The citations in Drugdex for Neurontin as of the third quarter of 2002, indicate
that there were no published scientific studics to support Neurontin’s use for the following
indications: alcohol detoxification/alcohol withdrawal syndrome, ALS, antidepressant-induced
bruxism, anxiety disorder, attention deficit disorder/attention deficit and hyperactivity disorder,
behavior problems-dementia related, behavior dyscontrol, dipolar disorder, brachioradial pruntis,
back pain, Charles Bonnet syndrome, ciguatera poisoning, cluster headache, cocaine
dependency, diabetic peripheral neuropathy, depression, dosages in excess of 1800 mg per day,
dystonia, essential tremor, failed back surgery syndrome, headache (SUNCT), headache,
hemifacial spasm, hiccups, Lesch-Nyhan syndrome, mania, migraine prophylaxis, menopausal
hot flashes, mood stabilization, multiple sclerosis complications, myalgias taxane induced
neuropathic pain syndromes, neuropathic canccr pain, HIV-related neuropathy, nicotine
withdrawal, nystagmus, obsessive-compulsive disorder, orthostatis tremor, pain-
postpoliomyclitis pain, pain-RSD, pain disorder, partial se1zures-monothcrapy, partial seizures-
pediatric, partial seizures-refractory, phantom limb syndrome, postherpeti¢c neuralgia, restless les
syndrome, trigeminal neuralgia, seizures — acute tntermiltent prophyria, scizures — brain tumor-
induced, seizures — clozapine-induced, seizures — generalized, seizures - status cpilepticus,
schizophrenia, social phobia, spasticity, or any other indication other than the partial scizures-
adjunctive therapy, partial seizures-pediatric, postherpetic neuralgia, and diabetic peripheral

neuropathy.

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109. With the complete absence of scientific support for treatment of these diseases,
sales growth which occurred for the use of Neurontin for these diseases was the result of
Defendants’ continumy promotional activities.

110. Any representations by any agent, employee, or person hired by defendants that as
of 2003 there was scicntific evidence supporting Neurontin’s use for; alcohol
detoxification/alcohol withdrawal syndrome, ALS, antidepressant-induced bruxism, anxiety
disorder, attention deficit disorder/attention deficit and hyperactivity disorder, behavior
problems-dementia related, bchavior dyscontro], dipolar disorder, brachioradial pruntis, back
pain, Charles Bonnet syndrome, ciguatcra poisoning, cluster headache, cocaine dependency,
diabetic peripheral neuropathy, depression, dosages in cxcess of 1800 mg per day, dystonia,
essential tremor, failed back surgery syndrome, headache (SUNCT), headache, hemifacial
spasm, hiccups, Lesch-Nyhan syndrome, mania, niigraine prophylaxis, menopausal hot flashcs,
mood stabilization, multiple sclerosis complications, myalgias taxane induced neuropathic pam
syndromes, neuropathic cancer pain, HIV-related neuropathy, nicotine withdrawal, nystagmus,
obsessive-compulsive disorder, orthoslatis tremor, pain-postpoliomyelitis pam, pain-RSD, pain
disorder, partial seizures-monothcrapy, partial se1zures-pediatric, partial seizures-refractory,
phantom limb syndrome, postherpetic neuralgia, restless les syndrome, trigeminal neuralgia,
seizures -- acute intermittent prophyria, seizures -- brain tumor-induced, seizures — clozapine-
induced, seizures . gencralized, seizures - status epilepticus, schizophrenia, social phobia,
spasticity, or any other indication other than the partial seizures-adjunctive therapy, partial
seizures-pediatric, postherpetic neuralgia, and diabetic peripheral neuropathy would have been
misleading in that the published literature cited im Drugdex did not support these indications at
that time, On information and belicf, Defendants made representations that there was scientific
evidence supporting use for these discascs.

111. Any statement or representation made by Parke-Davis, their employces or agents
that Neurontin was safe and effective for migraine prophylaxis that provided information only on

positive reports or trials while failing to disclose negative studies of similar or better

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methodologic quality would not be a fair and balanced presentation and would be false and
misicading. On information and belief, such statements were made during the period from 1995
through 2000.

112. Any statement or representation made by Parke-Davis, their employees, or agents
that Neurontin was safe and effective for treatment of neuropathic pain that provided information
on positive reports or trals, while [ailing to disclose negative studies of similar or better
methodologic quality, would not be a fair and balanced presentation and would be false and
misleading. On information and belief, such statements were made during the period from 1995
through 2002.

113. Federal laws and regulations governing the Medicare and Medicaid programs. In
particular, 42 U.S.C. § 1320A-7 and 42 C.F.R. § 1001 prohibit kickbacks to physicians and
medical care providers. “Kickbacks” have been delined as including payments, gratuities and
other benefits paid to physicians who prescribe prescription drugs by the manufacturers of the
drugs.

114. As part of its nationwide program of “off-label” promotion of Neurontin, Parke-
Davis established a system of paying kickbacks to physicians who are prescribers of large
amounts of Neurontin. These kickbacks were administered by the Parke-Davis sales department,
and frequently disguised as consultantships, although unrelated to any scientific or cducational
activily. The kickbacks took the form of cash payments, travel benefits, entertainment, Olympics
tickets and other benefits. Parke-Davis established formal internal guidelines for the award of
these benefits to physicians which are based entircly on the amount of prescriptions wntten by
the physicians and the ability of the physician to influence other physicians to begin prescnbing
Neurontin for “offlabel” uses.

115. These kickbacks are strictly illegal and have had the effect of greatly increasing
the amount of Neurontin prescriptions and indirectly the amount of moncy spent by the federal

eovernment for reimbursement of prescriptions covered by Medicare. The payment of these

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kick-backs represents the inducement of federal payments through a pattern of fraudulent
conduct and constitute false claims within the meaning of 31 U.S.C, § 3729.

116. As part of its illegal “off-label” promotion of Neurontin, Parke-Davis has
instructed and caused its sales personnel and its medical liaison employees to make false
statements to physicians, and to provide physicians with written matcrials containing false
statements, concerming the safcty and efficacy of Neurontin for “off-label” uses. These
statements were made with the intent of, and had the cffect of, inducing physicians to increase
theit “off-label” prescription of Neurontin.

117. The false and misleading statements made by Defendants’ employces to
physicians have included representations that scientific evidence cxists that Neurontin is an
ellective remedy for pain, bipolar disorder, attention deficit disorder, reflex sympathetic
dystrophy, post-herpetic neuralgia, and monotherapy for scizures. The false and misleading
statements also include representations that Neurontin is known to be safc and effective im
dosages of up to 4800 mg/day in all populations, The false statements include representations
that clinical tals are ongoing or planned with respect to each of the above off-label uses. Each
of these statements is unsupported by any Icgitimate scientific evidence.

F. Fraudulent Concealment

118. Defendants have and continue to conceal their off-label promotional activities.
As for events occurring prior to May 2002, when the federal court file in the Franklin gui tam
case was completely unsealed, in the exercise of reasonable diligence, Plaintiff could not have
discovered the scheme alleged herein. Much of the scheme still remains concealed by

Defendants.

G. The Role of Non-Physician Technical Writers, Physicians and Vendors in
Defendants’ Marketing Scheme

119. ‘The non-physician technical writers, physician “authors,” and vendors, namely
AMM/Adclphic Ltd. (“AMM”) and Medical Educational Systems; Inc. (“MRS”), (collectively

referred to herein as the “Promotional Strategists) were key parties in Defendants* improper

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H. Defendants’ Motive

123. Defendants’ motive in creating and operating the fraudulent scheme and RICO
Enterprises described hercin was to fraudulently obtain additional sales and revenues from
Neurontin.

124, ‘he fraudulent scheme was designed to, and did; cause Plaintiff and the Class to
pay claims for Neurontin to treat conditions for which the drug is not medically necessary. The
fraudulent scheme also caused Plaintiff and the Class to pay claims for Neurontin to treat non-
FDA approved conditions. In the absence of Defendants’ improper conduct, Plamtiff and the
Class would not have paid for such Neurontin claims.

L Use of the Mails and Wires

125. During the Class Period, Defendants used thousands of mail and interstate wire
communications to create and manage their fraudulent scheme. Defendants’ scheme involved
national marketing and sales plans and programs, and encompassed physicians and viclims
across the country.

126. Defendants’ use of the mails and wires to. perpetrate their fraud imvolved
thousands of communications throughout the Class Period, including:

(a) Marketing and advertising materials about the off-label uses of Neurontin
for which the drug 1s nol safe and medically cfficacious, such materials being scent to
doctors across the country;

(b) Communications, including financial payments, with the Vendors, non-
physician iechnical wniters, and physician “authors” discussing and relating to the
pubheation of articles touting off-label uses of Neurontin for which the drug is not safe
and medically efficacious, as detailed above;

{c} Communications with the Vendors; doctors and private insurers that
lraudulently represented that Neurontin was scientifically proven to be safe and effective
for off-label uses;

(d) Communications with health insurers and patients, including Plaintiff and

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the Classes, inducing payments for Neurontin to be made in reliance on
misrepresentations conceming the use of Neurontin for non-medically necessary uses;
and
(e) Receiving the proceeds of the Defendants’ improper scheme.
127. In addition, Defendants’ corporate headquarters have communicated by United
States mail and by facsimile with various local distnct managers, medical liaisons and

pharmaccutical representatives in furtherance of Defendants’ schemes.

V. CLASS ACTION ALLEGATIONS
128. Under Rule 23 of the Federal Rules of Civil Procedure, Plamtilf brings this action

on behalf of themselves and Class defined as:

All cntitics throughout the United States and its territorics who, for purposes other
than resale, purchased, reimbursed and/or paid for Neurontin for indications not
approved by the FDA (‘the Class”) during the period from January |, 1994
through the present (“the Class Period”), For purposes of the Class definition,
entities “purchased” Neurontin if they paid some or all of the purchase price.

Excluded from the Class are (a) entitics who may receive relief in the action entitled Congress of
California Seniors v. Pfizer, Inc., Case No. BC289643, Defendants and any entity in which any
Defendant has a controlling interest, and their legal representatives, officers, directors, assigns
and successors, and any co-conspirators.

129, The Class consists of numerous entitics throughout the United States, making
individual joindcr impractical, in satisfaction of Rule 23(a)(1). The disposition of the claims of
members of the Class in a single class action will provide substantial benefits to all parties and to
the Court.

130. The claims of the representative Plaintiff are typical of the claims of the Class, as
required by Rulc 23(a)(3), in that the representative Plaintiff includes entities that, like all Class
members, purchased and/or paid for Neurontin for indications not approved by the FDA. Such
representative Plaintiff, like all members of the Class, have been damaged by Defendants’

misconduei, in that, among other things, they paid for Neurontin io treat conditions for which the

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drug has not been demonstrated to be medically effective or safe and for which the drug was not
FDA-approved.

131. The factual and legal bases of Defendants’ misconduct arc common to all
members of the Class and represent a common thread of fraud and other misconduct resulting in
injury to Plaintiff and all members of the Class.

132. ‘There are many questions of law and fact common to Plaintiff and the Class, and
those questions predominate over any questions that may affect individual Class members,
within the meaning of Rule 23(a}(2) and 23(b)(3). Common questions of law and fact include,
but are not limited to, the following:

{a) Whether Neurontin is medically necessary for uses not approved by the
FDA:

(h) Whether Defendants engaged in a fraudulent and/or deceptive scheme of
improperly marketing and selling Neurontin for conditions to which it is not safe or
medically efficacious;

(c) Whether Defendants engaged in a fraudulent and/or deceptive scheme of
improperly marketing and selling Neurontin to treat conditions for which the drug was
not approved by the FDA;

{d)} Whether Defendants instructed or coached doctors on how to conceal the
off-label nature of Neurontin on claim forms submitted to Plaintiff and members of the
Class;

(c) Whether it was the policy and practice of Defendants to prepare, fund and
publish matenals which contained false information and misreprescntations regarding
off-label uses for Neurontin;

(f) Whether Defendants paid non-physician technical writers to wrile articles
containing misinformation and misrepreseniations concerning purported scientific
evidence regarding the safety and medical efficacy of Neurontin to treat off-label

conditions;

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(g) Whether Defendants paid physicians to “author” articles written by others
containing misinformation and misrepresentations conceming purported scientific
evidence regarding uses of Neurontin for which it has not been scientifically proven to be
sale or medically effective;

(h) Whether Detendants paid Vendors, namcly AMM and MEFS, to market
articles contaiming misinformation and misrepresentations concerning purported scientific
evidence regarding off-label uses of Neurontin for which the drug is not safe or medically
necessary;

(1) Whether Defendants are liable to the Class Members for damages for
conduct actionable under common law fraud and unjust enrichment;

(j) Whether Defendants are liable to the Class Members for damages for
conduct actionable under the various state consumer protection laws;

(k) Whether Defendants engaged in a pattern and practice that directly caused
Plaintiff and Class Members to pay for Neurontin claims that were for non-medically
necessary uses;

(1) Whether Defendants engaged im a pattcrn and practice that directly caused
Plaintiff and Class Members to pay for Neurontin claims that were for non-FDA
approved uses, and

(m) Whether Defendants engaged in a pattern of deceptive and/or fraudulent
activity with the intent to defraud Plaintiff and the Class Members.

133. Plaintiff will fairly and adequately represent and protect the imterests of the Class,
as required by Rule 23(a)(4). Plaintiff has retained counsel with substantial experience in
prosecuting nationwide class actions. Plaintiff and its counsel are committed to vigorously
prosecuting this action on behalf of the Classes, and have the financial resources to do so.
Neither Plaintiff nor its counsel have any interest adverse to those of the Class.

134. Plaintiff and members of the Class have suffered, and will continue to suffer,

harm and damages as a result of Defendants’ unlawiul and wrongful conduct. A class action is

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superior to other available methods for the fair and efficient adjudication of the controversy
under Rule 23(b)(3). Absent a class action, most members of the Class likely would find the cost
of litigating their claims to be prohibitive, and will have no effective remedy al law. The class
treatment of common questions of law and fact is also superior to multiple individual actions or
piccemeal litigation in that it conserves the resources of the courts and the litigants, and promotes
consistency and efficiency of adjudication, Additionally, Defendants have acted and failed to act
on grounds generally applicable to Plaintiff and the Classes and require Court imposition of
uniform relief to ensure compatible standards of conduct toward the Class, thereby making
appropriate equitable relief to the Class as a whole within the meaning of Rule 23(b)(1) and

(b)(2).
TOLLING OF APPLICABLE STATUTES OF LIMITATIONS

135, Any applicable statutes of imitations have been tolled by Defendants’ knowing
and active concealment and denial of the facts alleged herein. Plaintiff and members of the Class
have been kept in ignorance of vital information csscntial to the pursuit of these claims, without
any fault or lack of diligence on their part. Plaintiff and members of the Class could not
reasonably have discovered the fraudulent nature of Defendants’ conduct. Accordingly,
Defendants are estopped from relying on any statute of limitations.

FIRST CAUSE OF ACTION

Violation of 18 U.S.C. § 1962(¢)
(The MES Enterprise)

136. Plaintiff incorporates by reference all preeeding paragraphs as if fully sct forth
herem.

137. Defendants arc the “persons” within the mcaning of § 1961(3) who conducted the
affairs of the enterprise through a pattern of racketcering activity in violation of 18 U.S.C. §
1962(c).

138. MES is an “enterprise which was created and/or used as a tool to effectuate
Defendants’ pattem racketeering activity. ‘he Defendant “persons” are distinct from MES as the

enlerprise.

139. The MES Enterprise engaged in and affected interstate commerce, because, inter

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alia, it marketed, sold, purchased or provided Neurontin to thousands of individuals throughout
the United States.

140. Defendants have exerted control over the MES Enterprise; and Defendants have
participated in the operation or management of the affairs of the MES Enterprise, through the
following actions:

(a) Defendants have asserted direct control over the information and content
disseminated to the Vendors (including MES), doctors and the public regarding the
medical safety and efficacy of Neurontin for off-label uses in arlicles published across the
country;

(b) Delendants have asserted dircet control over the creation and distribution
of mass-marketing and sales materials sent to Vendors and doctors throughout the United
States: anc

(c) Defendants have placed their own employees and agents in positions of
authority and control in the MES Enterprise.

141. Defendants have conducted and participated in the affairs of the MES Enterprise
through a pattem of racketecring activity that includes acts indictable under 18 U.S.C, §§ 1341
and 1343 (mail and wire [raud), as described above.

142. In implementing their fraudulent scheme, Defendants were acutely aware that
Plaintiff and members of the Class depend on the honesty of Defendants in representing the
safety and medical efficacy of Neurontin’s uses.

143. As detailed above, Defendants’ fraudulent scheme consisted of, inter alia:

(a} causing providers to misrepresent the off-label use(s) for which Neurontin
was being presenbed so that Plaintilf and members of the Class were unaware that
contrary to their plan Janguage they were paying Neurontin claims for off-label uses;

(b) deliberately misrepresenting the uses for which Neurontin was safe and
effective so that Plaintiff and members of the Classes paid for this drug to treat symptoms

for which it was not scientifically proven to be safe and effective;

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(c) publishing or causing to have published materials containing false
information upon which physicians, Plaintiff and members of ihe Class relied upon when
choosing to prescribe or pay for Neurontin to treat off-label uses for which the drug is not
scientifically proven to be safe or medically efficacious; and

(d) actively conccaling, and causing others to conceal, mlormation about the
true safety and efficacy of Neurontin to treat conditions for which it had not been
approved by the FDA.

144, TDetendants’ scheme was calculated to ensure that Plaintiff and the Class would
pay claims for Neurontin to treat a wide varicty of uses which Defendants knew were not
necessarily treatable with Neurontin.

145. Each of Defendants’ fraudulent mailings and interstate wire transmissions
constitute “racketeering activity" within the meaning of 18 U.S.C, § 1961(1). Collectively, these
violations constitute a “palter of racketecring activity” within the meaning of 18 U.S.C. 8
1961(5).

146. Defendants cngaged in a pattern of racketeering activity intending to defraud
Plaintiff and the Class,

147. The above described racketeering activities amounted to a common course of
conduct intended to deecive Plaintiff and the Classes. Defendants* crminal acts of racketecring
had the same pattern and similar purpose of defrauding Plaintiff and the Class. Each such
racketecring activity was related, had similar purposes, involved the same or similar participants
and methods of commission, and had similar results affecting srmilar victims, including Plaintiff
and the members of the Class. Defendants’ fraudulent activities are part of their regular way of
conducting their ongoing business and constitute a continuing threat to the property of Plainuitf
and the Class.

148. The pattern of racketeering activity alleged herein and the MES Enterprise are
separate and distinet from each other. Defendants cngaged in a pattern of racketeering activity

alleged herein for the purpose of conducting the affairs of the MES Enterprise. Plaintiff and

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members of the Class have been injured in their property by reason of these violations in that
Plaintiff and members of the Class have made millions of dollars in overpayments for Neurontin.

149. Plaintiff and the members of the Class relied, to their detriment, on Defendants’
fraudulent misreprescntations and omissions.

150. Plainti!f’s and the Classes’ injuries were directly and proximately caused by
Defendants’ racketeering activity as described above.

151. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are jointly and
severally liable to Plaintiff and the Class for three times the damages Plaintiff and the Class have
sustained, plus the cost of this suit, including reasonable attomeys’ lees.

SECOND CAUSE OF ACTION
Violation of 18 U.S.C. § 1962¢c)
(The AMM Enterprise)

152. Plaintiff incorporates by reference all preceding paragraphs as if fully sct forth
herein.

153. Defendants arc the “persons within the meaning of 18 U.S.C. § 1961(3) who
conducted the affairs of the enterprise through a pattern of racketeering activily in violation of 18
U.8.C. § 1962(c).

154. AMM is an “enterprise” which was created and/or used as a tool to effectuate
Defendants’ pattern of rackeleering activity. The Defendant “persons” are distinct trom AMM as
the enterprise.

155. ‘The AMM Enterprise engaged in and affected interstate commerce, because, infer
alia, it marketed, sold, purchased or provided Neurontin to thousands of individuals throughout
the United States.

156. Defendants have exerted contro] over the AMM Enterprise, and Defendants have
participated in the operation or management of the affairs of the AMM Enterprise, through the
following actions:

(a) Defendants have asserted direct control over the information and content

disseminated to the Vendors (including AMM), doctors and the public regarding the

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medical safety and efficacy of Neurontin for off-label uses in articles published across the

country;

(b) Defendants have asserted direct control over the creation and distribution
of mass-marketing and sales matcrials sent to Vendors and doctors throughout the United
States; and

(c) Defendants have placed their own employees and agents in positions of
authority and contre! in the AMM Enterprise.

157. Defendants have conducted and participated in the affairs of the AMM Enterprise
through a pattern of racketeering activity that includes acts indictable under !8 U.S.C. §§ 1341
and 1343 (mail and wire fraud), as descnbed above.

158. In implementing their fraudulent scheme, Defendants were acutely aware that
Plaintiff and members of the Class depend on the honesty of Defendanis in representing the
safety and medical efficacy of Neurontin’s uses.

159, As detailed above, Defendants’ fraudulent scheme consisted of, iter alia:

(a) causing providers lo misrepresent the off-label use(s) for which Neurontin
was being prescribed so that Plaintiff and members of the Class were unaware that
contrary to their plan language they were paying Neurontin claims for off-label uses;

(b) deliberately misrepresenting the uses for which Neurontin was safe and
effective so that Plaintiff and members of the Classes paid for this drug to treat symptoms
for which il was not scientifically proven to be safe and effective;

{c) publishing or causing to have published materials containing false
information upon which physicians, Plaintiff and members of the Class relied upon when
choosing to prescribe or pay for Neurontin to treat off-label uses for which the drug ts not
scientifically proven tu be safe or medically efficacious; and

(d) actively concealing, and causing others to conceal, information about the
true safety and efficacy of Neurontin lo treat conditions for which it had not been

approved by the FDA.

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160. Defendants’ scheme was calculated to ensure that Plaintiff and the Class would
pay claims for Neurontin to treat a wide variety of uses which Delendants knew were nor
necessanly treatable with Neurontin.

161. Each of Defendants’ fraudulcat mailings and interstate wire transmissions
constitute “rackctecring activity” within the meaning of 18 U.S.C. § 1961(1). Collectively, these
violations constitute a “pattern of rackctccring activity” within the meaning of 18 U.S.C. §
1961(5).

162. Defendants engaged in a pattern of racketeering activity iniending to defraud
Plaintiff and the Class,

163. The above described racketeering activities amounted to a common course of
conduct intended to deceive Plaintiff and the Class. Defendants‘ criminal acts of racketeenng
had the same pattem and similar purpose of defrauding Plaintiff and the Class. Each such
racketeering activity was related, had similar purposes, mvolved the same or similar participants
and methods of commission, and had similar results affecting similar victims, including Plaintiff
and the members of the Class. Defendants‘ fraudulent activitics are part of their regular way of
conducting their ongoing business and constitute a continuing threat to the property of Plaintiff
and the Class.

164. The paitern of racketccring activity alleged herein and the AMM Enterprise are
separate and distinct from each other. Defendants engaged in a pattern of racketeering activity
alleged herein for the purpose of conducting the affairs of the AMM Enterprise.

165. Plaintiff and members of the Class have been injured in their property by reason
of these violations in that Plaintiff and members of the Class have made millions of dollars in
overpayments for Neurontin.

166. Plaintiff and the members of the Class relied, to their detriment, on Defendants’
fraudulent misrepresentations and omissions.

167. Plaintiffs and the Class’s injuries were directly and proximately caused by

Defendants’ racketeering activity as described above.

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168. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are jointly and
severally liable to Plaintiff and the Class for three times the damages Plaintiff and the Class have
sustained, plus the cost ol this suit, including reasonable attomeys’ fees.

THIRD CAUSE OF ACTION

Violation of 18 U.S.C. § 1962(c)
(The Promotion Strategist Enterprise)

169, Plaintiffincorporates by reference all preceding paragraphs as if fully set forth
herein.

170. Detendants are the “persons” within the meaning of 18 U.S.C. § 1961(3) who
conducted the affairs of the enterprise through a pattern of racketeering activity in violation of 18
U.S.C. § 1962(c).

171. The enterprise is an association in fact within the meaning of 18 U.S.C. § 1961(4)
consisting of cach of the three Defendants, Pfizer, Warmner-Lambert and Parke-Davis, mcluding
their employees and agents, and the non-physician technical writers, physician “authors,” and
Vendors located throughout the United States who participated in the fraudulent schemes
described above (the “Promotional Strategist Enterprise”). The Promotional Strategist Enterpnse
is an ongoing organization and functions as a continuing unit. The Promotional Strategist
Enterprise was created and/or used as a tool to clfectuate Defendants’ pattern of racketeering
activity. The Defendant “persons” are distinct from the Promotional Strategist Enterprise.

172. The Promotional Strategist Enterprise falls within the meaning of 18 U.S.C. §
1961(4), and consists of a group of “persons” associated together for the common purposes of
marketing and selling Neurontin to Plaintiff and the Class and carning profits therefrom.

173. The Promotional Strategist Enterprise engaged in and affected interstate
commerce, because, inter alia, it marketed, sold, purchased or provided Neurontin to thousands
of individuals throughout the United States.

174. Each Defendant has exerted control over the Promotional Strategist Enterprise
and each has participated in the operation or management of the affairs of the Promotional

Strategist Enterprise, through the following actions:

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(a) Defendants have asserted direct control over the information and content
disseminated to doctors and the public regarding the medical safety and efficacy of
Neurontin for off-label uses in articles published across the country;

(b) Defendants have asserted direct control over the ercation and distribution
of mass-marketing and sales materials sent to doctors throughout the Uimted States; and

(c) Defendants have placed their own employecs and agents in positions of
authonty and control in the Promotional Strategist Enterprise.

175. Defendants have conducted and participated in the alfairs of the Promotional
Straiegist Enterprise through a patiern of racketeering activity that includes acts indictable under
18 U.S.C, $§ 1341 and 1343 (mail and wire fraud), as described above.

176. In implementing their fraudulent scheme, Defendants were acutely aware that
Plaintiff? and the Class depend on the honesty of Defendants in representing the safety and
efficacy of Neurontin's uses.

177. As detailed above, Defendants' fraudulent scheme consisted of inter alia:

(a) causing providers Lo misrepresent the off-label use(s) for which Neurontin
was being prescribed so that Plaintiff and members of the Class were unaware that
contrary to their plan language they were paying Neurontin claims for off-label uses;

(b) deliberately misrepresenting the uses for which Neurontin was safe and
effective so that Plaintiff and members of the Class paid for this drug to treat symptoms
for which it was not scientifically proven te be safe and effective;

(c) publishing or causing to have published matcrials containing false
information upon which physicians, Plamti? and members of the Class relied upon when
choosing to prescribe or pay for Neurontin to treat off-label uses for which the drug 1s not
scientifically proven to be safe or medically efficacious; and

(cd) actively concealing, and causing others to conceal, mformation about the
true safety and efficacy of Neurontin to treat conditions for which it had not been

approved by the FDA.

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178. Defendants’ scheme was calculated to censure that Plaintiff and the Class would
pay claims for Neurontin to treat a wide variety of uses which Defendants knew were not
necessarily treatable with Neurontin.

179, Each of Defendants’ fraudulent mailings and interstate wire transmissions
constitute “racketeering activity” within the meaning of [8 U.S.C. § 1961(1). Collectively, these
violations constitute a “pattem of racketeering activity” within the meaning of 18 U.S.C. §
1961(5).

180. Defendants engaged in a pattern of racketeering activity intending to defraud
Plaintiff and the Class.

181. The above described racketeering activities amounted to a common course of
conduct intended to deecive Plaintiff and the Class. Defendants’ criminal acts of racketeering
had the same pattem and similar purpose of defrauding Plaintiff and the Class, Each such
racketecring activity was related, had similar purposes, involved the same or similar participants
and methods of commission, and had similar results affecting similar victims, including Plaintiff
and the Class. Defendants’ [raudulent activities are part of their regular way of conducting their
ongoing business and constitute a continuing threat to the property of Plaintiff and the Class.

182. The pattern of rackelecring activity alleged herein and the Promotional Strategist
Enterprise are separate and distinct from each other. Defendants engaged in a pattern of
tacketccring activity alleged herein for the purpose of conducting the affairs of the Promotional
strategist Enterprise.

183. Plaintiff and members of the Classes have been injured in their property by reason
of these violations in that Plaintiff and members of the Class have made millions of dollars in
overpayments for Neurontin.

184. Plaintiff and the members of the Class relied, to their detriment, on Defendants’
fraudulent misrepresentations and omissions.

185. Plaintiff's and the Class's injuries were directly and proximately caused by

Defendants' racketeering activity as described above.

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